817 F.2d 102Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Byron J. STEVENS, III, Plaintiff-Appellant,v.Jessee BOYETTE;  North Carolina Department of Corrections;Captain Hunt;  Captain Grimes, Defendants-Appellees.
    No. 87-7510.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 9, 1987.Decided April 22, 1987.
    
      Before SPROUSE, CHAPMAN and WILKINS, Circuit Judges.
      Byron J. Stevens, III, appellant pro se.
      Jacob Leonard Safron, Office of the Attorney General, for appellees.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Stevens v. Boyette, C/A No. 85-1362-CRT (E.D.N.C., Dec. 17, 1986).
    
    
      2
      AFFIRMED.
    
    